      Case 3:20-cv-00106-DPM-BD Document 57 Filed 10/21/20 Page 1 of 2




                   IN THE UNITED STATES DISTRICT COURT
                       EASTERN DISTRICT OF ARKANSAS
                            NORTHERN DIVISION

JAMES DILLARD,
ADC #116862                                                                   PLAINTIFF

V.                          CASE NO. 3:20-CV-106-DPM-BD

BRENT COX, et al.                                                         DEFENDANTS

                                         ORDER

       This Court previously recommended that Mr. Dillard’s claims against the John

Doe Defendants be DISMISSED, without prejudice. (Doc. No. 47) Mr. Dillard objected

to that Recommendation explaining that he believed that the John Doe Defendant had

been identified as Brad Carter. (Doc. No. 48) Chief Judge Marshall instructed the Clerk

to file Mr. Dillard’s objection as a motion to reopen the time to serve Defendant Carter

and returned the motion to this Court for a decision. (Doc. No. 56) The motion is

GRANTED.

       The Clerk of Court is directed to prepare a summons for Defendant Carter. The

Marshall is directed to serve Defendant Carter with copies of the complaint and the

amended complaint, with any attachments (Doc. Nos. 2, 6), and a summons, without

requiring prepayment of fees and costs or security. Service for Defendant Carter should

be through the Greene County Detention Center, 1809 North Rockingchair Road,

Paragould, Arkansas 72450.

       In addition, the Clerk is instructed to identify the “Does” as Brad Carter on the

docket sheet.
Case 3:20-cv-00106-DPM-BD Document 57 Filed 10/21/20 Page 2 of 2




IT IS SO ORDERED, this 21st day of October, 2020.


                               ____________________________________
                               UNITED STATES MAGISTRATE JUDGE




                                  2
